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6

7
                            UNITED STATES DISTRICT COURT
8
                                    DISTRICT OF NEVADA
9

10                                                 Case No. 3:18-cv-00296-LRH-CBC
     TESLA, INC., a Delaware corporation,
11                                                 DEFENDANT/COUNTERCLAIMANT
                                  Plaintiff,       MARTIN TRIPP’S REQUEST TO FILE
12
                                                   ELECTRONICALLY, AS PRO SE.
     vs.
13

14   MARTIN TRIPP, an individual,
15                                Defendant.
16
     MARTIN TRIPP, an individual,
17

18
     Counterclaimant,
19

20   TESLA, INC., a Delaware corporation,
21

22   Counterdefendant.
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24   Defendant/Counterclaimant Martin Tripp (“Defendant” or “Tripp”), by himself, hereby
25   respectfully submits his request to file documents electronically, as a Pro Se
26   Defendant/Counterclaimant.
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                                               1
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     Case 3:18-cv-00296-MMD-CLB Document 213 Filed 08/19/20 Page 2 of 4




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2        DATED this 19th day of August, 2020.
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4                                        Martin Tripp, Pro Se

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8                                        By_____________________
                                           Martin Tripp
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      Case 3:18-cv-00296-MMD-CLB Document 213 Filed 08/19/20 Page 3 of 4




1                                      PROOF OF SERVICE
2          I am a Citizen of the United States of America. I am over the age of 18 and am a party
3    to the within action; my personal address is Bocskai Utca 11 Cece, Fejer 7013 Hungary.
4          On August 19, 2020, I served the following described as:
5          DEFENDANT/COUNTERCLAIMANT MARTIN TRIPP’S REQUEST TO
           FILE ELECTRONICALLY, AS PRO SE.
6
           on the following interested parties in this action:
7
         MCDONALD CARANO LLP
8         rkay@mcdonaldcarano.com
         Rory T. Kay (NSBN 12416)
9
         2300 West Sahara Avenue, Suite 1200
10       Las Vegas, NV 89102
         Telephone: (702) 873-4100
11       Facsimile: (702) 873-9996
12
         QUINN EMANUEL URQUHART &
13       SULLIVAN, LLP
         Alex Spiro (admitted pro hac vice)
14
          alexspiro@quinnemanuel.com
15       51 Madison Avenue, 22nd Floor
         New York, New York 10010
16       Telephone: (212) 849-7000
17
         QUINN EMANUEL URQUHART &
18       SULLIVAN, LLP
         Michael T. Lifrak (admitted pro hac
19
         vice)
20        michaellifrak@quinnemanuel.com
         Jeanine M. Zalduendo (admitted pro hac
21       vice)
22        jeaninezalduendo@quinnemanuel.com
         Aubrey Jones (admitted pro hac vice)
23        aubreyjones@quinnemanuel.com
         865 South Figueroa Street, 10th Floor
24
         Los Angeles, California 90017-2543
25       Telephone: (213) 443-3000
26   [X] (BY E-MAIL) By transmitting the above documents to the above e-mail addresses.
27
                                                   3
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      Case 3:18-cv-00296-MMD-CLB Document 213 Filed 08/19/20 Page 4 of 4




1    [X] (STATE) I declare under penalty of perjury under the laws of the United States of
2    America that the foregoing is true and correct.
3           EXECUTED on this 19th day of August, 2020 at Fejer, Hungary.
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5                                                      /s/Martin Tripp
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